Case
 Case1:14-cv-00333-CCE-JEP
       1:14-cv-00333-CCE-JEP Document
                             Document56-12  Filed04/13/15
                                      56-12 Filed 04/13/15 Page
                                                            Page11
                                                                 ofof
                                                                    4949
                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               Durham Division


THOMAS H. KRAKAUER,
on behalf of a class of persons,

       Plaintiff,

v.                                           No. 14-cv-33

DISH NETWORK, L.L.C.,

       Defendant.




                     EXPERT REPORT OF DR. DEBRA J. ARON




Case
 Case1:14-cv-00333-CCE-JEP
       1:14-cv-00333-CCE-JEP Document
                             Document56-12  Filed04/13/15
                                      56-12 Filed 04/13/15 Page
                                                            Page22
                                                                 ofof
                                                                    4949
I.       QUALIFICATIONS AND ASSIGNMENT
1.       My name is Debra J. Aron.       I am a Principal and Managing Director at Navigant
         Economics and an Adjunct Associate Professor at Northwestern University. Navigant
         Economics is an economics and finance consulting firm that provides economic expertise
         for litigation, regulatory proceedings, policy debates, and business strategy. My business
         address is 1603 Orrington Avenue, Suite 1500, Evanston, IL, 60201.

2.       I received a Ph.D. in economics from the University of Chicago in 1985, where my
         honors included a Milton Friedman Fund fellowship, a Pew Foundation teaching
         fellowship, and a Center for the Study of the Economy and the State dissertation
         fellowship.   I was an Assistant Professor of Managerial Economics and Decision
         Sciences from 1985 to 1992, at the J. L. Kellogg Graduate School of Management,
         Northwestern University, and a Visiting Assistant Professor of Managerial Economics
         and Decision Sciences at the Kellogg School from 1993-1995. I was named a National
         Fellow of the Hoover Institution, a think tank at Stanford University, for the academic
         year 1992-1993, where I studied innovation and product proliferation in multiproduct
         firms. Concurrent with my position at Northwestern University, I also held the position
         of Faculty Research Fellow with the National Bureau of Economic Research from 1987-
         1990. At the Kellogg School, I have taught M.B.A. and Ph.D. courses in managerial
         economics, information economics, and the economics and strategy of pricing.             I
         currently teach a Master’s course on competition and strategy in communications markets
         at Northwestern University. I am a member of the American Economic Association and
         the Econometric Society, and an Associate member of the American Bar Association.

3.       In the past 20 years a significant portion of my consulting and academic work has
         focused on telecommunications issues, the economics of regulation, innovation,
         incentives, and pricing, and I have published articles on these subjects in several peer-
         reviewed scholarly journals, including the American Economic Review, the RAND
         Journal of Economics, the Journal of Law, Economics, and Organization, the Review of
         Network Economics, and the Journal of Competition Law and Economics.               I have
         provided economic consulting services on numerous occasions to firms in the




                                            Page 1 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page33
                                                                      ofof
                                                                         4949
          communications industry, on competition, costing, pricing, incentives, and regulation
          issues in the United States and internationally. I have testified in federal cases as well as
          in state courts of law and before regulatory agencies and state legislatures regarding a
          variety of economic issues in the telecommunications industry, including the regulatory
          and competitive history, development, and trends in the communications marketplace;
          economic and antitrust principles of competition in industries undergoing deregulation;
          measurement of competition in communications markets; and the social welfare and
          policy implications of regulatory rules and changes in the telecommunications industry,
          including consumer protection rules. I have testified on damages and irreparable harm,
          and I have testified in several contract disputes between communications companies
          including on issues related to wireless handset and services prices, price bundles, costs,
          technologies, and strategy. My experience includes class action matters (including class
          certification) in telecommunications markets. I have provided consulting analysis and
          advice on wireless telecommunications services pricing. Throughout the course of my
          career I have analyzed public and proprietary and confidential telecommunications data,
          both as part of my work in litigation and regulatory matters, and in non-litigation
          consulting and research.

4.        I have provided data analysis and consulting support in a number of matters brought
          under the TCPA. In addition, I testified at deposition in the Balschmiter v. TD Auto
          Finance LLC1, Birchmeier et al v. Caribbean Cruise Line, Inc. et al2, and Warnick v.
          DISH Network, LLC3 TCPA cases; I testified in the latter case in court as well.

5.        My professional qualifications are detailed in my curriculum vitae, which is attached as
          Exhibit 1.

6.        Navigant Economics bills for my time on this engagement at my usual and customary
          rate of $760 per hour, for the time of the Navigant Economics staff that have assisted me



1
      Amanda Balschmiter et al., v. TD Auto Finance, LLC, United States District Court Eastern District of
      Wisconsin, Case No. 2:13-cv-1186.
2
      Grant Birchmeier et al. v. Caribbean Cruise Line, Inc., et al., In the United States District Court for the
      Northern District of Illinois, Eastern Division, Case No. 1:12-cv-04069.
3
      Seth Warnick v. DISH Network L.L.C., Before the United States District Court for the District of Colorado,
      Civil Action No. 12-cv-1952-WYD-MEH.




                                                     Page 2 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page44
                                                                      ofof
                                                                         4949
          in preparing my declaration at their usual and customary rates, and for any expenses
          incurred in the preparation of this report.

7.        I was asked by Counsel for Defendant to analyze the expert report of Ms. Anya
          Verkhovskaya on behalf of Plaintiff to determine whether she has offered a reliable
          methodology for ascertaining Plaintiff’s proposed class.4 Ms. Verkhovskaya produced a
          report in this case dated January 30, 2015. She subsequently produced corrected pages to
          report, dated March 5, 2015. Her corrections affected some of her opinions in this case.
          Her report corrections were provided seven days before the due date of my report. In
          addition, Ms. Verkhovskaya’s deposition was taken on March 6, 2015. At her deposition
          Ms. Verkhovskaya was not able to answer certain questions that are potentially material
          to my analysis. Although Ms. Verkhovskaya testified that she would follow up on certain
          requested information, I have not obtained that information at the time of submitting this
          report. Hence, I reserve the right to modify or augment my opinions if additional
          information becomes available.

8.        A list of the documents I considered in my analysis is contained in Exhibit 2.


II.       PLAINTIFF’S PROPOSED CLASSES
9.        I understand that this case is brought by the Plaintiff Dr. Thomas Krakauer under Section
          227(c)(5) of the Telecommunications Consumer Protection Act.5 In Plaintiff’s Amended
          Class Action Complaint, Plaintiff tentatively defines two purported classes. Count I
          Class is defined as:

                   All persons throughout the United States whose telephone numbers were
                   listed on the Do Not Call Registry, and to whom, at any time within the
                   applicable limitations period, more than one call within any twelve-month
                   period was placed by or at the direction of Satellite Systems Network, to
                   promote the sale of Dish satellite television subscriptions.6

10.       Count II Class is defined as:
4
      Expert Report of Anya Verkhovskaya, A.B. Data, Ltd., Thomas H. Krakauer v. DISH Network L.L.C., In the
      United States District Court for the Middle District of North Carolina, Durham Division, No. 14-cv-333,
      January 30, 2015, as corrected on March 5, 2015 (hereafter, Verkhovskaya Corrected Report).
5
      First Amended Class Action Complaint, Thomas H. Krakauer v. DISH Network L.L.C., In the United States
      District Court for the Middle District of North Carolina, Durham Division, No. 14-cv-333, December 1, 2014
      (hereafter, Amended Complaint), ¶ 16.
6
      Amended Complaint, ¶ 42.




                                                    Page 3 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page55
                                                                      ofof
                                                                         4949
                   All persons throughout the United States whose telephone numbers were
                   listed on either the Defendant’s or SSN’s company-specific Do Not Call
                   registries, but who received telemarketing calls by or at the direction of
                   Satellite Systems Network, to promote the sale of Dish satellite television
                   subscriptions.7

11.       According to Plaintiff’s complaint, these classes can be identified “through telephone
          records and databases used in transmitting the telemarketing calls.”8


III.      SUMMARY OF MS. VERKHOVSKAYA’S ANALYSIS
12.       I understand that telephone calls were allegedly placed by a company called Satellite
          Systems Network (SSN), using a software platform provided by a company called
          “Five9,” for the alleged purpose of promoting the sale of DISH’s satellite television
          services.9

13.       A set of data purported to be the dialer records of Five9 for the calls placed by SSN
          between May 2010 and August 2011 to promote the sale of DISH’s satellite services (the
          “Five9 Records” or “dialer data”) was produced by Five9 in this case.10 In her expert
          report, Ms. Verkhovskaya describes the analyses she performed on these call records.11
          After eliminating from this database the “unconnected” calls,12 Ms. Verkhovskaya used


7
      Amended Complaint, ¶ 44.
8
      Amended Complaint, ¶ 46.
9
      Amended Complaint, ¶ 26.
10
      Files CONFIDENTIAL - SatelliteSystemsNetwork2010-20100501-20100531.xlsx; CONFIDENTIAL –
      SatelliteSystemsNetwork2010-20100601-20100630.xlsx; CONFIDENTIAL – SatelliteSystemsNetwork2010-
      20100701-20100731.csv; CONFIDENTIAL – SatelliteSystemsNetwork2010-20100801-20100831.xlsx;
      CONFIDENTIAL – SatelliteSystemsNetwork2010-20100901-20100930.csv; CONFIDENTIAL -
      SatelliteSystemsNetwork2010-20101001-20101031.csv; CONFIDENTIAL – SatelliteSystemsNetwork2010-
      20101101-20101130.csv; CONFIDENTIAL – SatelliteSystemsNetwork2010-20101201-20101231.csv;
      CONFIDENTIAL – SatelliteSystemsNetwork2010-20110101-20110131.csv; CONFIDENTIAL –
      SatelliteSystemsNetwork2010-20110201-20110228 (2).csv; CONFIDENTIAL –
      SatelliteSystemsNetwork2010-20110201-20110228.csv; CONFIDENTIAL – SatelliteSystemsNetwork2010-
      20110401-20110430.csv; CONFIDENTIAL – SatelliteSystemsNetwork2010-20110501-20110531.csv;
      CONFIDENTIAL – SatelliteSystemsNetwork2010-20110601-20110630.csv; CONFIDENTIAL –
      SatelliteSystemsNetwork2010-20110701-20110731.csv; CONFIDENTIAL – SatelliteSystemsNetwork2010-
      20110801-20110831.csv.
11
      Ms. Verkhovskaya compiled the Five9 Records into a single database referred to as the “Analysis Database.”
      Verkhovskaya Corrected Report, pp. 7-8. Ms. Verkhovskaya testified in deposition that she never talked to
      anyone from SSN; that she is relying on what plaintiff’s counsel told her as to whether the calls were
      telemarketing calls selling DISH services; and that she does not know who produced the SSN files. See
      Deposition of Anya Verkhovskaya, March 6, 2015 (hereafter, Verkhovskaya Deposition), pp. 54, 56, 57.
12
      Ms. Verkhovskaya defines unconnected calls as calls with a duration of 00:00:00; inbound calls; calls where the
      disposition code appeared as blank; and calls with the following disposition codes: “[Deleted];” “Abandon;”




                                                     Page 4 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page66
                                                                      ofof
                                                                         4949
          the records for the “connected” calls to purportedly identify the following categories of
          persons:

                       1. Persons who received more than one call within a twelve-month period,
                          whose telephone number was on the National Do Not Call Registry
                          (“NDNCR”) at least 30 days prior to the first call, and whose telephone
                          number was not the number of a business user or of a DISH customer.13
                       2. Persons who received more than one call within a twelve-month period,
                          had notified DISH that they did not want to receive telemarketing calls at
                          least 30 days prior to the first call, and whose telephone number was not
                          the number of a business user or of a DISH customer.14
                       3. Persons who had notified SSN that they did not want to receive
                          telemarketing calls, received at least two calls within a twelve month
                          period after notifying SSN that they did not want to receive telemarketing
                          calls, the first of which was at least 30 days after the call in which they
                          notified SSN that they did not want to receive telemarketing calls, and
                          whose telephone number was not the number of a business user or of a
                          DISH customer.15

14.       I refer to the list of individuals identified in the first category as the “NDNCR List.” I
          refer to the list of individuals identified in categories 2 and 3, together, as the “Internal
          DNC Lists.”

15.       Ms. Verkhovskaya first identifies the unique telephone numbers that meet the criteria to
          be in one of these three lists, and then describes a method by which to use the information
          available in the Five9 Records and other sources purportedly to identify the names and
          addresses associated with these telephone numbers.16

          A.       Identification of Telephone Numbers in the NDNCR List

16.       Ms. Verkhovskaya created the NDNCR List of telephone numbers following the steps
          summarized in Exhibit 3.




      “Busy;” “Fax;” “Fax machine;” “Internal Call;” “No Answer;” “No Disposition;” and “Operator Intercept.”
      See, Verkhovskaya Corrected Report, p. 8. Ms. Verkhovskaya testified in deposition that she did not verify if
      numbers identified as fax numbers were fax numbers. She also does not know if “No Answer” includes calls
      answered by an answering machine. See Verkhovskaya Deposition, pp. 83-85.
13
      Verkhovskaya Corrected Report, pp. 9-11.
14
      Verkhovskaya Corrected Report, pp. 11-14.
15
      Verkhovskaya Corrected Report, pp. 11-14.
16
      Verkhovskaya Corrected Report, pp. 11, 12-3, 14-15.




                                                     Page 5 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page77
                                                                      ofof
                                                                         4949
          B.       Identification of Telephone Numbers in the Internal DNC Lists

17.       To generate the list of telephone numbers in the Internal DNC Lists, Ms. Verkhovskaya
          used a similar methodology as the one described in Exhibit 3, but using internal do-not-
          call lists allegedly created by DISH and data from the Five9 Records, instead of the
          NDNCR, in the second step of the process. The steps taken are summarized in Exhibits 4
          and 5.

18.       Ms. Verkhovskaya does not purport to have ascertained the class or classes proposed in
          this case using the methodology she has described, nor to have proposed a methodology
          for doing so. She testified at deposition that she was retained only to perform analysis of
          telephone data using the criteria given to her by Plaintiff’s counsel.17 Nevertheless,
          because I understand that it is Plaintiff’s duty to provide a reliable methodology for
          ascertaining the classes proposed, and because the only analysis that might be related to
          ascertaining a class that has been presented by Plaintiff is the data analysis contained in
          Ms. Verkhovskaya’s report, I will give Plaintiff the benefit of the doubt by assuming that
          the data steps taken by Ms. Verkhovskaya are Plaintiff’s proposed methodology for
          ascertaining the classes he is proposing.

19.       To the best of my understanding, Ms. Verkhovskaya’s analysis is that the 20,450
          telephone numbers in her NDNCR List (see my Exhibit 3) are the telephone numbers of
          the members of the Count I class; and the 7,117 telephone numbers that Ms.
          Verkhovskaya concludes were at the time of the call on DISH’s internal DNC list, along
          with the 714 telephone numbers that Ms. Verkhovskaya concludes were on SSN’s DNC
          list—together, the Internal DNC Lists—are the telephone numbers of the members of the
          Count II class. I will refer to the 20,450 telephone numbers identified in Exhibit 3 as the




17
      Verkhovskaya Deposition, pp. 7:9-12, 8:8-9:5, 11:1-9. When asked what work she did on this case, she testified
      that she was retained to “perform data analysis,” and that her area of expertise is “analyzing telephone data
      based on the criteria that [were] given to [her] by plaintiff’s counsel.” In redirect examination, Ms.
      Verkhovskaya stated that she was retained to perform “pre-class certification services.” ( Verkhovskaya
      Deposition, p, 159:11-13) She defines these services as “a set of services from document review to conversion
      of paper documents into electronic files for presentment and analysis of those files, data processing, issuing
      various opinions about potential impact of notice should the class be certified and potential ways to notice the
      class.” (Verkhovskaya Deposition, p. 161:6-14)




                                                     Page 6 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page88
                                                                      ofof
                                                                         4949
          “purported Class I numbers” and the 7,117 and 714 numbers identified in Exhibit 4 and
          Exhibit 5 as the “purported Class II numbers.”18

          C.       Identification of Names and Addresses Associated with Telephone Numbers
                   in the NDNCR List and the Internal DNC Lists

20.       Ascertaining a class in this case requires, among other steps, identifying the individuals
          who subscribed to the telephone numbers to which the allegedly illegal calls were made.
          Ms. Verkhovskaya does not provide a list that she purports identifies the names of the
          purported class members. Rather, she describes steps that she asserts could identify the
          names and addresses of the individuals associated with the identified telephone number
          lists.

21.       Specifically, where available, Ms. Verkhovskaya proposes to use the name and address
          fields in the Five9 Records to identify the names and addresses of the individuals
          associated with the telephone numbers in the NDNCR List and the Internal DNC Lists.19
          The name and/or address field is blank, however, in many records. For the telephone
          numbers for which the name of the individual associated with the number is missing in
          the Five9 Records, Ms. Verkhovskaya references a file that she obtained from data
          vendor LexisNexis. This file, according to her, “includes, among other information,
          information regarding the name(s) and address(es) relevant to the subscribers of the
          telephone number for a given timeframe.”20 My understanding is that her proposal is to
          use the names in the LexisNexis data for telephone numbers for which the name is
          missing in the Five9 Records.


IV.        CRITIQUE OF MS. VERKHOVSKAYA’S ANALYSIS
22.       I have studied Ms. Verkhovskaya’s report, data and other files produced in discovery, and
          her deposition testimony, and conclude that Ms. Verkhovskaya does not provide a

18
      There are not 7,114 + 714 = 7,831 unique Class II numbers because, according to my review of the data, Ms.
      Verkhovskaya did not remove duplicates between those two sets of numbers.
19
      Verkhovskaya Corrected Report, pp. 11, 12-13, 14.
20
      Verkhovskaya Corrected Report, p. 14. Ms. Verkhovskaya states that prior to notifying class members, A.B.
      Data would update individuals’ address information using databases from other data vendors, such as the United
      States Postal Service’s National Change of Address database and Experian’s MetroNet® service, and “would
      coordinate with additional Data Processors, such as Experian,” to “further [supplement]” name and address
      information “that has not yet been identified.”




                                                    Page 7 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page99
                                                                      ofof
                                                                         4949
          complete or implementable methodology for ascertaining the classes proposed by
          Plaintiff. In this section I point out several deficiencies in the methodology described by
          Ms. Verkhovskaya for purposes of ascertaining a class.

          A.       Ms. Verkhovskaya does not specify a method to differentiate wireless and
                   wireline numbers.

23.       I understand from Mr. Krakauer’s deposition testimony that he received the calls at issue
          in this case only on his residential telephone.21 If commonality and/or typicality of the
          class requires that the class members be confined to individual who also received
          telephone calls only on wireline residential telephones,                          Ms. Verkhovskaya’s
          methodology does not include any steps to identify telephone numbers that were wireless
          at the time the calls to that number were made.

24.       There are likely to be a material number of telephone numbers among the purported Class
          I numbers and purported Class II numbers that were wireless at the time of the calls at
          issue. According to the data provided to Ms. Verkhovskaya by data vendor Nexxa, 5,620
          of the telephone numbers that were called twice or more in a period of 12 months appear
          to have been identified in the NDNCR output file produced by Nexxa as wireless
          numbers at the time of its analysis in January 2015.22

25.       The fact that a telephone number was wireless in January 2015—assuming the output file
          produced by Nexxa is correct—does not mean that it was wireless at the time that the
          calls at issue were made to that number, however; and a telephone number being wireline
          now does not mean it was wireline at the time of the calls to that number. Telephone
          numbers that were originally assigned to wireline carriers are frequently “ported” (i.e.,
          reassigned) to a wireless carrier if the customer chooses to drop her wireline service but
          keep her number for a wireless phone. For example, the subscriber to a telephone
          number that was assigned to a wireline telephone in 2010 may have chosen to drop her

21
      Deposition of Thomas H. Krakauer, October 14, 2014, pp. 30-33, 39.
22
      File “ABDate_Ref 52272 DNC_2015016 OUTPUT.xslx.” Ms. Verkhovskaya testified that she did not use this
      identifier (Verkhovskaya Deposition, pp. 152:22-154-1); I conclude that it purports to identify telephone
      numbers that were wireless at the time of the data pull on the basis of the data descriptors. See document
      “Nexxa DNC Scrub Status Description.docx.” I also understand that any telephone number, whether wireline
      or wireless, that Nexxa identified as being on the NDNCR would not be identified as wireless in its output file.
      Hence, any wireless telephone numbers that were identified as being on the NDNCR would not be among the
      5,620 telephone numbers identified by Nexxa as wireless.




                                                     Page 8 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1010
                                                                        ofof
                                                                           4949
          wireline service in 2011 and keep her phone number for her cell phone, and the telephone
          number would appear in 2011 as a wireless number. Telephone numbers can also be
          ported from wireless to wireline carriers. In addition, a wireline number that was at one
          time ported to a wireless phone would revert to the wireline carrier if the wireless
          customer dropped the number entirely.23

26.       Determining that a telephone number is properly included in the class therefore requires a
          reliable methodology for identifying for each call whether the telephone number called
          was wireless on the date of the call.               Ms. Verkhovskaya has not proposed any
          methodology for doing so.

          B.       Several steps in Ms. Verkhovskaya’s methodology are unjustified or
                   undocumented

27.       In the Five9 Records, each call is associated with a “disposition code,” which Ms.
          Verkhovskaya used at several steps in her process to filter out subsets of the data (see
          steps 3, 4, and 5 in Exhibit 3, steps 3 and 4 in Exhibit 4, and steps 2, 3, and 4 in Exhibit
          5). Ms. Verkhovskaya does not have information about how those disposition codes
          were created or entered in the data.24 Her analysis is based only on instructions from
          Plaintiff’s counsel as to how to interpret the disposition codes and she conducted no
          analysis to determine whether Plaintiff’s counsel’s instructions were correct.25

28.       One of the disposition codes is “DISH customer.” Ms. Verkhovskaya eliminates all
          telephone numbers in which the disposition code for any call to that number is given as
          “DISH customer.” The purpose of this step was apparently to eliminate DISH customers
          from the list.26

29.       Ms. Verkhovskaya provides no basis for concluding that the DISH customer disposition
          code would provide a reliable method for identifying DISH customers, however, and
          there are several reasons for concluding that relying on this code would lead to both

23
      Craig Stroup and John Vu, “Numbering Resource Utilization in the United States: NRUF Data as of June 30,
      2010, Porting and Toll-Free Data as of September 30, 2010,” Federal Communications Commission, April
      2013, pp.2-3,5, 8.
24
      See, e.g., Verkhovskaya Deposition, pp. 56, 123-124.
25
      See, e.g., Verkhovskaya Deposition, pp. 76:6-10, 128:14-129:23.
26
      Verkhovskaya Report, p. 10. Ms. Verkhovskaya testified in her deposition that identifying these entries
      amounts to identifying people with an existing business relationship with DISH. Verkhovskaya Deposition, p.
      40:7-15, 147:13-20.




                                                    Page 9 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1111
                                                                        ofof
                                                                           4949
          errors of inclusion and errors of exclusion. The means by which the “DISH customer”
          disposition code that appears in the data was determined, and by whom is not known.27
          One possibility is that if the calling agent reached someone on the other end of the line,
          and the person answering the phone told the agent that she is a DISH customer, the agent
          entered that information in the disposition code as “DISH customer.”

30.       In that case, the disposition code would not represent a verified determination of which
          customers were in fact DISH customers at the time of the call. Many actual DISH
          customers may have answered the telephone and quickly or ultimately hung up the phone
          without telling the agent that he is a DISH customer. This would result in errors of
          inclusion in Ms. Verkhovskaya’s methodology.                  Ms. Verkhovskaya’s methodology
          would not exclude any DISH customers that did not identify themselves as such to the
          calling agent, and those customers would therefore be erroneously included in the class.
          In addition, many non-DISH customers may have told the agent that they are DISH
          customers to get the agent off the phone, or simply by mistake. In those cases, Ms.
          Verkhovskaya’s methodology would result in errors of exclusion, because every called
          party who was not a DISH customer but who told the agent that he was a DISH customer
          would be excluded from the class erroneously. Ms. Verkhovskaya admitted in deposition
          testimony that it is not possible to know from the data whether all phone numbers that
          were DISH customer numbers were captured with the disposition code.28

31.       Moreover, Ms. Verkhovskaya’s methodology does not permit the possibility that a
          telephone number belonged to a DISH customer at the time of some of the calls-in-suit to
          that number but not at the time of others. There are at least two possibilities for how a
          called number could be a DISH customer for some calls and not for others. First, the
          telephone number may change hands, belonging to two or more different people during
          the period of the data, only one of which was a DISH customer. Second, the telephone
          number may have belonged to the same person during the relevant time period, but the
          person may have added or dropped DISH service during the relevant time period, so that
          she was a DISH customer during one or more calls, but not during other(s).

27
      Verkhovskaya Deposition, pp. 123-124. Ms. Verkhovskaya also testified that her only knowledge of the
      meaning of the disposition codes comes from her conversations with Plaintiff’s counsel. Verkhovskaya
      Deposition, pp. 81-82.
28
      Verkhovskaya Deposition, p. 124:11-25.




                                                  Page 10 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1212
                                                                        ofof
                                                                           4949
32.   Ms. Verkhovskaya eliminates a telephone number if it was identified in the disposition
      code as a DISH customer for any call made to it. An inspection of the records that Ms.
      Verkhovskaya eliminated illustrates some of the errors that can result from this simplistic
      approach. Exhibit 6 shows some examples of telephone numbers that were dialed more
      than once in a 12-month period, and for which the disposition code “Dish Customer”
      appears at least once associated with the number. All of these numbers have been
      excluded from Ms. Verkhovskaya’s lists in exhibits A, B, and C of her Expert Report. In
      Example 1 of Exhibit 6, the number was called three times, and it was identified as a
      purported “DISH customer” in the third call. It is not possible to discern from the data if
      the person called was a DISH customer before the third call. If the person called was not
      a DISH customer at the time of the first and second calls, Ms. Verkhovskaya has
      articulated no theory (nor does Plaintiff’s amended complaint) under which the first two
      calls would be exempt from TCPA liability or that the called party of those calls should
      be excluded from the class. She has also offered no methodology for determining
      whether the called party was a DISH customer at the time of each call, nor for
      determining whether the phone number belonged to the same person at the time of each
      call.

33.   Example 2 shows a telephone number that was called four times within a one-month
      period before being identified as a DISH customer. It is impossible to determine if the
      person called was a DISH customer before the fifth call. Moreover, as the exhibit shows,
      the called party appears to have identified himself (or herself) as “Cable” a month earlier.
      If the called party identified himself as a cable customer in July, but as a DISH customer
      in August, it is possible that the customer was mistaken in one or the other call, or
      misrepresented himself as a DISH customer in August to end the call, or that the
      customer dropped cable and subscribed to DISH in between the calls, or several other
      scenarios. The next call after the number was identified as a DISH customer was four
      months later; Ms. Verkhovskaya provides no means of determining if the called party
      was still a customer at that time. Examples 3 and 4 show similar situations in which it is
      unclear how to interpret the “Dish Customer” disposition code.




                                          Page 11 of 18


 Case
  Case1:14-cv-00333-CCE-JEP
        1:14-cv-00333-CCE-JEP Document
                              Document56-12  Filed04/13/15
                                       56-12 Filed 04/13/15 Page
                                                             Page1313
                                                                    ofof
                                                                       4949
          C.      Ms. Verkhovskaya does not provide a complete methodology to identify the
                  names and addresses associated with the relevant telephone numbers

34.       Ms. Verkhovskaya does not explain why she believes that the names in the Five9 records
          are reliable for purposes of identifying the subscribers to the telephone numbers that were
          dialed. I am aware of no information about the source used in the Five9 records to obtain
          the names listed in the dialer database with the telephone numbers, nor its reliability.29 In
          addition, there is no indication in the data and I am aware of no information as to whether
          the name in the data purports to be, for example, the subscriber to the telephone number
          account, the person SSN was trying to contact, or the person who picked up the phone. I
          am advised by counsel that in this matter the proper class member is the subscriber to the
          telephone number account. Ms. Verkhovskaya does not provide any evidence that the
          names associated with the telephone numbers in the Five9 Records are in fact the
          subscribers to the telephone numbers, and she testified in her deposition that the data do
          not provide information about this.30

35.       The name and address information in the Five9 Records are not complete. Of the
          337,206 telephone numbers in the complete list of calls (the “Analysis Database”),
          26,102 have the last name missing for every call record associated with that telephone
          number; 94 have the first name missing for every call record associated with that
          telephone number; and 14,101 are missing first and last names for every call record
          associated with that telephone number. In addition, the first or last name is missing for
          some of the call records in 68 numbers; and the first and last name are missing for some
          of the call records in 45,979 telephone numbers. These results are summarized in Exhibit
          7.

36.       Ms. Verkhovskaya proposes to use names and addresses provided to her by LexisNexis
          for the telephone numbers for which the identifying information is missing in the Five9
          Records data. It is unclear whether these data were produced to Defendant, however. Ms.
          Verkhovskaya testified in deposition that A.B. Data submitted the phone numbers with

29
      Ms. Verkhovskaya testified that she does not know how SSN obtained the numbers in the Five9 database. She
      also testified that she does not know from the call logs in the database whether the name of the person
      associated with a given phone number was the actual subscriber to that number at the time of the call,
      Verkhovskaya Deposition, pp. 145:5-13, 147:5-12.
30
      Verkhovskaya Deposition, p. 145:5-13.




                                                  Page 12 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1414
                                                                        ofof
                                                                           4949
          missing name and address information to LexisNexis and requested LexisNexis to
          “reverse append historic information of who was the subscriber of that phone number and
          what the address of that individual was during the timeframe in question.”31            Ms.
          Verkhovskaya did not provide in discovery the results of any reverse append data pull
          from LexisNexis that appears to have been the result of a submission by A.B. Data of a
          subset of the Five9 Records consisting only of those numbers with missing name and/or
          address information. Either Ms. Verkhovskaya failed to produce this reverse-append
          LexisNexis data file, or she misspoke and was instead alluding to the LexisNexis data file
          “LN_Output_Dish_II_busreslookupfile.xlsx” consisting of various data fields, including
          name and address fields, for 23,681 telephone numbers, including 23,463 for which there
          is identifying information in the Five9 Records. While Ms. Verkhovskaya may have
          been alluding to this LexisNexis file, she testified at deposition that the only field she
          used in the “LN_Output_Dish_II_busreslookupfile.xlsx” data file was the field that
          purports to identify whether a telephone number is a business number. She testified that
          no other fields were analyzed for this case.32            Hence, her testimony appears to be
          inconsistent on this point.

37.       For purposes of this report I will assume that when Ms. Verkhovskaya referred in her
          report to the LexisNexis data she obtained and upon which she would rely to fill in the
          names and addresses for those telephone numbers for which identifying information is
          missing in the Five9 Records, she was alluding to the LexisNexis file that was produced
          as “LN_Output_Dish_II_busreslookupfile.xlsx.” If additional clarifying information or
          data become available I will revise my report and opinions as necessary.

38.       The validity and accuracy of the LexisNexis reverse append name and address
          information is not known. Ms. Verkhovskaya testified that she is not privy to the details
          about how LexisNexis obtains its data; that LexisNexis did not guarantee or warrant the
          accuracy of the data it supplied; and that no one at A.B. Data verified LexisNexis’s
          work.33 In addition, the LexisNexis data are not complete. The LexisNexis output data
          that was produced in discovery contains 23,681 unique telephone numbers, of which


31
      Verkhovskaya Deposition, pp. 129:24-130:12.
32
      Verkhovskaya Deposition, pp. 105:16-112:4.
33
      Verkhovskaya Deposition, pp. 102-103.




                                                    Page 13 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1515
                                                                        ofof
                                                                           4949
          5,377—well over 20 percent-- have no name information associated with them (see
          Exhibit 8).

39.       Ms. Verkhovskaya testified at deposition that she has conducted tests of the LexisNexis
          data and found it to be 86% to 97% accurate.34 She has not, however, produced any
          documentation supporting such an analysis that would allow me to determine what she
          means by “accurate,”35 nor whether her tests are scientifically or statistically valid and
          unbiased. Ms. Verkhovskaya testified that her bachelor’s degree is in nursing, she has no
          post-graduate courses or degrees, and she has never taken a statistics course.36                             I
          understand that counsel for DISH has requested documentation of her tests and if such
          documentation is provided I reserve the right to augment my report with results of my
          analysis of her methodology and results.

40.       While I am unable to assess the validity of Ms. Verkhovskaya’s tests of LexisNexis’s
          data, I have reviewed the data provided for internal consistency within the datasets and
          for consistency across the datasets. I found several anomalies and inconsistencies in the
          data that call into question their accuracy.

41.       First, I noted that in the LexisNexis data, the same telephone number is in some cases
          associated with multiple names.                Ms. Verkhovskaya offers no methodology for
          determining which name is the correct one—i.e., the name of the class member—for
          purposes of this case. Exhibit 9 provides examples of the same number being associated
          with multiple names.

42.       I have also compared the Five9 Records and the LexisNexis name and information data.
          Of the 23,681 telephone numbers in the LexisNexis data and the corresponding Five9
          Records, 18,149 have at least partial name information in both the dialer data and the
          LexisNexis data, as shown in Exhibit 10. If both sources of data are accurate, the
          identifying information should match in both lists.



34
      Verkhovskaya Deposition, pp. 71-72.
35
      There are a variety of methods that could be employed to determine the accuracy of names data. A precise
      method would be an exact match on first and last name along with an exact match on city and state. Less
      precise methods would match only on first and last name or last name and part of the first name (such as first
      initial) or consider fuzzy matches (e.g. “Smith” and “Smyth” or “John” and “Jon”) to be the same.
36
      Verkhovskaya Deposition, pp. 22:12-23:20.




                                                     Page 14 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1616
                                                                        ofof
                                                                           4949
43.       I performed a name match between the LexisNexis data and the Five9 Records. The
          name matching procedure focused only on identifying any potential match between the
          two data sources based upon the following criteria:37

            a.   Last Name, City and State match
            b.   Last Name and City (State is Missing)
            c.   Last Name and State (City is Missing)
            d.   Last Name (City and State are Missing)
            e.   First Name, City and State
            f.   First Name and Last Name


44.       I considered the identifying information associated with a phone number to match in the
          two data sets if any of the above criteria were met; if there were multiple names in the
          LexisNexis data I considered the data to match if any of the names by phone number
          matched to the Five9 Records. Based upon this procedure and these assumptions, I found
          4,379 phone numbers (out of 18,149), or over 24 percent, that did not have a name match
          by any of the above criteria (see Exhibit 10). Exhibit 11 provides examples of these
          name mismatches.

45.       The analysis just discussed ignores some information provided in the LexisNexis data.
          LexisNexis provides data fields labelled as “first seen” and “last seen” for each telephone
          number/name observation. These fields are populated with dates. Ms. Verkhovskaya
          testified that she does not know how to interpret these fields in the LexisNexis data and
          that she made no use or analysis of them.38

46.       Upon examination of these fields, a straightforward interpretation would suggest that the
          “first seen” date is the date that the telephone number was first seen by LexisNexis as
          associated with the name given in that row; and that the “last seen” date is the date that
          the telephone number was last seen by LexisNexis as associated with the name given in
          that row. By that interpretation, however, the data appear to be inconsistent with Ms.
          Verkhovskaya’s testimony (for which there is no documentary support) that she
          requested of LexisNexis and was supplied data by LexisNexis only for the relevant time



37
      I also allowed for fuzzy matches when similar sounding names were detected (e.g., “smith” and “smyth”).
38
      Verkhovskaya Deposition, pp. 116:20-117:16.




                                                   Page 15 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1717
                                                                        ofof
                                                                           4949
          period—between 2010 and 2011.39 In many cases, the “first seen” and “last seen” dates
          for a telephone number fall outside the relevant time range (i.e., they both predate May
          2010 or postdate August 2011). Thus, for those records, the date information would
          suggest that LexisNexis has no observations that apply to the relevant dates.           Ms.
          Verkhovskaya admits in her deposition that if (hypothetically) the “first seen date” is
          after 2011, the telephone number could have been under someone else’s name or could
          have been a business number before that.40

47.       In addition, I have analyzed the date information and find that in many cases it is
          internally inconsistent.      Specifically, in some instances, the LexisNexis data have
          multiple names for a given telephone number, and the date ranges in which the names
          apparently apply overlap.           I have not quantified the complete number of telephone
          numbers that have overlap as of the time of this report, but I found a number of instances
          of this phenomenon. Exhibit 9 provides examples. The fact that some date ranges
          overlap for the same telephone number means that even within the date ranges that
          appear to be delimited by LexisNexis, LexisNexis cannot narrow down the subscriber to
          the number to a single person.

48.       If in fact the “first seen” and “last seen” fields delimit the applicable dates of the names
          provided for a given telephone number, it would be incorrect to ignore the date
          information when applying the LexisNexis data. I find that in the LexisNexis data, there
          are 7,166 telephone numbers of 18,304 for which there is name information, but no name
          information that is delimited within the relevant dates. Exhibit 12 shows these results.

49.       There are 11,037 telephone numbers for which there is at least partial name information
          in the dialer data and also there is name information in the LexisNexis data that falls
          within the relevant time period according to the date delimiters. To further assess the
          consistency of the data, I analyzed whether the identifying information in the dialer data
          matches the identifying information in the LexisNexis data when limited only to the
          name that falls within the relevant time period. I found that only 8,616 phone numbers
          match between the dialer data and LexisNexis data when the data are filtered to include


39
      Verkhovskaya Deposition, pp. 118:7-9.
40
      Verkhovskaya Deposition, p. 119.




                                                   Page 16 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1818
                                                                        ofof
                                                                           4949
          only phone numbers that have name information during the relevant time period. Hence,
          of 18,149 unique telephone numbers with name information in both the LexisNexis and
          the Five9 Records data sets, only 8,616—less than half—have matching name
          identification for the same time period. I present these results in Exhibit 13.

50.       The significant number of mismatches along with the overlap of date information within
          the LexisNexis data calls into question the validity of both data sets. The origin and
          definition of the name and address information data in the Five9 Records are unknown,
          as discussed earlier; but neither do the LexisNexis data have documented validity. In
          addition, the LexisNexis data are incomplete, may not uniformly pertain to the relevant
          time period, and do not uniquely identify individuals with a given telephone number even
          within the relevant time period.

          D.      Ms. Verkhovskaya does not account for other means of providing consent to
                  be called.

51.       Finally, Ms. Verkhovskaya’s methodology does not address the possibility that customers
          may have explicitly provided consent to be called by DISH for at least some of the calls
          despite having entered their telephone number on a DNC list. Each called party in the
          Class I and Class II lists received a connected call more than once, by construction of the
          lists (see step 1 of Exhibits 3, 4 and 5). It is possible that the customer answered the first
          call, asked the caller to call back at another time (such as a more convenient time or when
          another member of the household was available).           Ms. Verkhovskaya testified that
          telephone numbers that were called more than once may include instances in which the
          called party asked the caller to call back.41 I understand from counsel that a call does not
          violate the TCPA if the called party explicitly requests the call, even if the telephone
          number called is on a DNC.         Ms. Verkhovskaya’s methodology therefore does not
          include a means to identify or exclude telephone numbers or calls for which consent was
          provided on an earlier call. When asked at deposition, Ms. Verkhovskaya was not able to
          offer a means of ascertaining such information other than via an individual inquiry using
          a questionnaire, telephone call, or similar means.



41
      Verkhovskaya Deposition, p. 95.




                                              Page 17 of 18


     Case
      Case1:14-cv-00333-CCE-JEP
            1:14-cv-00333-CCE-JEP Document
                                  Document56-12  Filed04/13/15
                                           56-12 Filed 04/13/15 Page
                                                                 Page1919
                                                                        ofof
                                                                           4949
V.       CONCLUSION
52.      Based on my review of the materials in this case and Ms. Verkhovskaya’s corrected
         expert report, I conclude that Plaintiff has not provided a complete or implementable
         methodology for ascertaining either proposed class in this case for all of the reasons
         explained in this report.     I hold and present these conclusions and opinions to a
         reasonable degree of scientific, analytical, and statistical certainty.




      Dr. Debra Aron, Ph.D.

      Principal and Managing Director, Navigant Economics

      March 12, 2015




                                              Page 18 of 18


 Case
  Case1:14-cv-00333-CCE-JEP
        1:14-cv-00333-CCE-JEP Document
                              Document56-12  Filed04/13/15
                                       56-12 Filed 04/13/15 Page
                                                             Page2020
                                                                    ofof
                                                                       4949
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 21 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 22 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 23 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 24 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 25 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 26 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 27 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 28 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 29 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 30 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 31 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 32 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 33 of 49
                                                                                              Exhibit 2
                                                                                                 Aron

                                   List of Documents Considered

Procedural Documents and Exhibits Therein, Thomas H. Krakauer, on behalf of a class of persons,
v. Dish Network, L.L.C., In the United States District Court for the Middle District of North
Carolina, Durham Division, No. 1:14-cv-00333-CCE-JEP

 Class Action Complaint, April 18, 2014

 First Amended Class Action Complaint, December 1, 2014

Expert Declarations and Exhibits, Thomas H. Krakauer, on behalf of a class of persons similarly
situated, v. Dish Network, L.L.C., In the United States District Court for the Middle District of North
Carolina, Durham Division, No. 1:14-cv-00333-CCE-JEP

 Expert Report of Anya Verkhovskaya, A.B. Data, Ltd (with Exhibits), January 30, 2015

Depositions and Exhibits Therein, Thomas H. Krakauer, on behalf of a class of persons, v. Dish
Network, L.L.C., In the United States District Court for the Middle District of North Carolina,
Durham Division, Case No: 14-CV-333

 Deposition of Thomas H. Krakauer, October 14, 2014

 Deposition of Anya Verkhovskaya, March 6, 2015

Third Party Materials

 Craig Stroup and John Vu, “Numbering Resource Utilization in the United States: NRUF Data as of
 June 30, 2010, Porting and Toll-Free Data as of September 30, 2010,” Federal Communications
 Commission, April 2013.

Data

 ABDATA Invoice for 52272.pdf

 ABDate_Ref 52272 DNC_20150116.xlsx

 ABDate_Ref 52272 DNC_2015016 OUTPUT.xlsx

 blocked.txt

 BusinessNumberTable.csv

 clean.txt

 CONFIDENTIAL - SatelliteSystemsNetwork2010-20100501-20100531.xlsx

 CONFIDENTIAL - SatelliteSystemsNetwork2010-20100601-20100630.xlsx

 CONFIDENTIAL - SatelliteSystemsNetwork2010-20100701-20100731.csv

 CONFIDENTIAL - SatelliteSystemsNetwork2010-20100801-20100831.xlsx

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 Case
  Case1:14-cv-00333-CCE-JEP
        1:14-cv-00333-CCE-JEP Document
                              Document56-12  Filed04/13/15
                                       56-12 Filed 04/13/15 Page
                                                             Page3434
                                                                    ofof
                                                                       4949
                                                                       Exhibit 2
                                                                          Aron

CONFIDENTIAL - SatelliteSystemsNetwork2010-20100901-20100930.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20101001-20101031.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20101101-20101130.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20101201-20101231.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110101-20110131.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110201-20110228 (2).csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110201-20110228.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110401-20110430.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110501-20110531.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110601-20110630.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110701-20110731.csv

CONFIDENTIAL - SatelliteSystemsNetwork2010-20110801-20110831.csv

detailed.txt

detailed.txt

Dish Retailer DNC Lit 2010 and older.zip

DISH_CustomerList_STELAcompliant.XLSX

Dish_II_busreslookupfile.csv

DNC Ref 52272.txt

dnc.txt

ebr.txt

Echostar_Internal_Upto_20101231.txt

Echostar_Retailer_Upto_20101231.txt

File from DNC with Coding.xlsx

IDNC_Part1.csv

IDNC_Part2.csv

initial request DNC - process.txt


                                                                              2



Case
 Case1:14-cv-00333-CCE-JEP
       1:14-cv-00333-CCE-JEP Document
                             Document56-12  Filed04/13/15
                                      56-12 Filed 04/13/15 Page
                                                            Page3535
                                                                   ofof
                                                                      4949
                                                                        Exhibit 2
                                                                           Aron

invalid.txt

List for DNC work - 52272.xlsx

List for DNC work - 52272.xlsx

LN_Output_Dish_II_busreslookupfile.csv

LN_Output_Dish_II_busreslookupfile.xlsx

MainCallTable.csv

malformed.txt

Nexxa DNC Scrub Status Description.docx

Nexxa DNC Scrub Status Description.docx

Nexxa DNC Scrub Status Description.docx

Nexxa Order Complete RE Nexxa Order Confirmation RE DNC Ref 52272.txt

Nexxa Order Confirmation RE DNC Ref 52272.txt

Nexxa PO Confirmation_Ref 52272 DNC Coding_1-16.docx

NexxaDNCList.csv

renewing Neustar email string.txt

report.txt

response RE DNC - process.txt

Signed PO confirmation 52272.pdf

Ticket 14211 - Krakauer v DISH - File 1 - Needs Dedupe.xlsx

Ticket 14211 - Krakauer v DISH - File 2 - Needs Dedupe.xlsx

Ticket 14211 - Krakauer v Dish - File 3 - Needs Dedupe.xlsx

Ticket 14211 - Krakauer v DISH TCPA - Disposition List.xlsx

Ticket 14211 - Krakauer v DISH TCPA - Job 1.xlsx

To DNC Coding- Ref 52272.txt

wireless.txt




                                                                               3



Case
 Case1:14-cv-00333-CCE-JEP
       1:14-cv-00333-CCE-JEP Document
                             Document56-12  Filed04/13/15
                                      56-12 Filed 04/13/15 Page
                                                            Page3636
                                                                   ofof
                                                                      4949
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 37 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 38 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 39 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 40 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 41 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 42 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 43 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 44 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 45 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 46 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 47 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 48 of 49
Case 1:14-cv-00333-CCE-JEP   Document 56-12   Filed 04/13/15   Page 49 of 49
